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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                            *               CASE NO. 16-32

               V.                                   *
                                                                    JUDGE BARRY ASHE
LOUIS AGE, III                                      *
                                                    *
*      *       *       *       *      *       *     *

                                              ORDER

       Considering     Louis   Age,   III's   Unopposed   Motion    to   Allow    Attorney-Client

Communication (R. Doc. 435),

       IT IS ORDERED that the motion is GRANTED. The St. Charles Parish Sheriff’s Office

shall lift any and all restrictions impeding Mr. Age from communicating with his counsel,

Nicholas Trenticosta and Steven Lemoine, via telephone while he is at a medical facility or at the

St. Charles Parish Jail.


       New Orleans, Louisiana, this 6th day of August, 2020.




                                              ___________________________________
                                              BARRY W. ASHE
                                              UNITED STATES DISTRICT JUDGE
